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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:17CR3143

      vs.
                                                            ORDER
BAILEY MARIE BOSWELL,

                  Defendants.


      Defendant Bailey Marie Boswell has moved to continue the pretrial motion
deadline, (Filing No. 50), because Defendant needs additional time to investigate
this case and prepare for trial. The government does not oppose the motion to
continue. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant Boswell’s motion to continue, (Filing No. 50), is granted.

      2)    As to both defendants, pretrial motions and briefs shall be filed on
            or before March 8, 2018, with any response due on or before March
            15, 2018.

      3)    As to both defendants, trial of this case remains scheduled to
            commence on March 26, 2018.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and as to both defendants, the additional time arising as a
            result of the granting of the motion, the time between February 21,
            2018 and March 8, 2018, shall be deemed excludable time in any
            computation of time under the requirements of the Speedy Trial Act,
            because although counsel have been duly diligent, additional time is
            needed to adequately prepare this case for trial and failing to grant
            additional time might result in a miscarriage of justice. 18 U.S.C. §
            3161(h)(1), (h)(6) & (h)(7). Failing to timely object to this order as
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          provided under this court’s local rules will be deemed a waiver of any
          right to later claim the time should not have been excluded under the
          Speedy Trial Act.

    February 22, 2018.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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